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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA


                                           CIVIL MINUTES – GENERAL

 Case No.           LA CV12-07834 JAK (SSx)                                        Date     September 9, 2013
 Title              Muntasir A. Shamsiddeen v. Grant and Weber, et al.




 Present: The Honorable                 JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                       Andrea Keifer                                              Alex Joko
                        Deputy Clerk                                      Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                          Not Present                                             Lloyd Dix


 Proceedings:                 FINAL PRETRIAL CONFERENCE

                              DEFENDANT’S EX PARTE APPPLICAITON TO VACATE ALL HEARING
                              DATES AND SETTING ORDER T SHOW CAUSE WHY COMPLAINT
                              SHOULD NOT BE DISMISSED WITH PREJUDICE AND FOR SANCTIONS
                              (DKT. 25)

                              JS-6

The hearing on Defendant’s Ex Parte Application is held. Plaintiff was ordered to file a declaration and
make an appearance today, both of which he has failed to do. Dkt. 26. The Court states the history of the
case and Plaintiff’s continued failure to comply with the Court’s Orders. The Court orders the case
dismissed with prejudice for Plaintiff’s failure to follow the Court’s Orders and continued failure to appear.

Defense counsel requests attorney’s fees to be imposed. The Court directs counsel to file the appropriate
motion.

The Final Pretrial Conference, September 20, 2013 Exhibit Conference and September 24, 2013 Trial
are vacated.


IT IS SO ORDERED.
                                                                                                    :     03

                                                                Initials of Preparer   ak




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